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                                         Exhibit D:
          Cases for which Ruling Should be Deferred Until On or After October 31
        And which should be set for one of the status conferences regarding enrollment

Beasley, Allen,                                                               2:05-cv-
Crow, Methvin,                                        Ashbaugh, Paul K. v.    04150-EEF-
Portis & Miles, P.C.   Ashbaugh   Paul      Kurt      Merck & Co., Inc.       DEK
Beasley, Allen,                                                               2:05-cv-
Crow, Methvin,                                        Geasley, Pat v. Merck   04508-EEF-
Portis & Miles, P.C.   Reaves     Steve               & Co., Inc.             DEK
Beasley, Allen,                                                               2:05-cv-
Crow, Methvin,                                        McCoy, Joyce v. Merck   04515-EEF-
Portis & Miles, P.C.   McCoy      Danny               & Co., Inc.             DEK
                                                                              2:05-cv-
Godosky & Gentile,                                    Bua, Hugo v. Merck &    01552-EEF-
P.C.                   Bua        Hugo                Co., Inc.               DEK
